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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
WINKLEVOSS CAPITAL FUND, LLC,

      Plaintiff,
                                                                  18-cv-8250 (~SR)_
             -v-                        =========i====::::==~
                                      · '\l>C SDr;N :
CHARLES SHREM                    :1
                                 1'
                                      r>ocUMEN'f:          .
                                  IELECTRONISALLY FILED
      Defendant.                      DOC#:         . •
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JED S. RAKOFF, U.S.D.J.
                                                                                           "
      Before the Court are defendant                    C~rles   Shrem's motions to

dismiss plaintiff's complaint on various grounds and to strike

certain paragraphs from the complaint. See Dkt.                      62,   65. The

Court received full briefing and oral argument from both sides

as to each motion.

      After careful consideration, the Court denies both motions.

An opinion explaining the reasons for these rulings will issue

in due course.

      SO ORDERED

Dated:       New York, NY

              December   VU,   2018                            if{~.D.J.
